The Honorable Claire C. McCaskill Missouri State Auditor State Capitol Building Jefferson City, MO  65101
Dear Auditor McCaskill:
By letter dated January 14, 2000, you have submitted a fiscal note and fiscal note summary prepared pursuant to Section 116.175, RSMo, concerning the initiative petition proposal to amend Section571.030, RSMo. The fiscal note summary which you submitted is as follows:
  There appears to be no direct fiscal impact on state and local governments. The indirect fiscal impact on state and local governments, if any, is unknown.
Pursuant to Section 116.175, we approve the legal content and form of the fiscal note summary. Since our review of the fiscal note summary is mandated by statute, no action we take with respect to such review should be construed as an endorsement of the petition or as the expression of any view regarding the objectives of its proponents.
Sincerely,
                                   JEREMIAH W. (JAY) NIXON Attorney General